Case 2:05-cr-20224-SH|\/| Document 7 Filed 07/11/05 Page 1 of 2 Page|D 7

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UNITED STATES DIS'I`RICT COURT """“--

WESTERN DISTRICT OF TENNESSEE
Western Division

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THOMAS tt GOU_D
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UNITED sTATEs oF AMERICA Wt`j O.F ?`:tl tta'§t-,-tP;~tS
-vs~ Case No. 2:05cr20224-001B

JAMAL WILLIAMS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 12, 2005 at 3 : 00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 16'7 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing

Date: July 8,2005 c:§//A:m” @‘j
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 13 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) Will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or juror.

AO 470 (8¢'85) Order of Temporary Detention

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with Rule 55 and!or 32(b) FHCrP on §

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20224 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

